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 8                                 UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA,                                      CASE NO. 16CR0450-BAS
12                                           Plaintiff,              JUDGMENT AND ORDER OF
              vs.                                                    DISMISSAL OF INFORMATION
13
      KARINA VANESSA REBOLLO(2),
14

15                                         Defendant.

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            Upon motion of the UNITED STATES OF AMERICA and good cause appearing, the
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     Infonnation in the above entitled case as to KARINA VANESSA REBOLLO(2) is dismissed with
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     prejudice, the bond is exonerated and, ifheld by U.S. Pretrial Services, Defendant's passport is to be
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     released to Defendant.
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            IT IS SO ORDERED.
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            Dated:      6/2/2016
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                     RECEIVED IN
24                   DOCKETING                                   HOORABLE BA          AM L. MAJOR-­
                                                                 United States Magistrate Judge
25                  JUN - 6 1016
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